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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 SARA AVIEL,

                    Plaintiff,

                        –v.–                           Case No. 25-cv-00778

 SERGIO GOR, et. al.,

                    Defendants.



       PLAINTIFF’S MOTION FOR IMMEDIATE ADMINISTRATIVE STAY,
     TEMPORARY RESTRAINING ORDER, AND PRELIMINARY INJUNCTION

       Under Local Civil Rule 65.1(a), Plaintiff Sara Aviel, in her individual capacity and her

official capacity as President of the Inter-American Foundation (IAF), hereby moves for a

temporary restraining order/preliminary injunction, and for an immediate administrative stay,

for the reasons explained below, enjoining Defendants from taking any action inconsistent with

the authority she holds in that position. In particular, Plaintiff seeks a temporary restraining order

and preliminary injunction ordering: (1) that she may not be removed from her office as President

of the IAF, or any way be treated as having been removed, denied or obstructed in accessing any

of the benefits or resources of her office, or otherwise be obstructed from her ability to carry out

her duties, absent a decision by the lawfully-constituted board of the IAF to remove her from that

office; (2) that the Defendants may not appoint Peter Marocco or any other person as an acting

member of the Board of the IAF—or otherwise recognize any other person as a member of the

Board of the IAF absent Senate confirmation—or as President of the IAF absent appointment by

a lawfully-constituted board; and (3) that any actions taken or contemplated to be taken by

Defendant Peter Marocco, any other Defendant or any other person acting in concert with
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Defendants purportedly as a member of the Board of the IAF, absent Senate confirmation, are void

ab initio and without effect.

       As set forth in more detail in the accompanying brief, Defendant Peter Marocco’s

purported appointed as acting Chair of the Board of the IAF violates the Inter-American

Foundation Act, the Federal Vacancies Reform Act, and the Appointments Clause of the United

States Constitution. Plaintiff will suffer irreparable injury if Defendant Peter Marocco’s purported

appointed is permitted to persist.

       A temporary restraining order and an immediate administrative stay are necessary

because Defendants have ordered return of all unspent grant funds by March 19, 2025, and

Defendants appear in the midst of shutting down the IAF completely. Under Local Civil Rule

65.1(a), at 10:00 a.m. on March 17, 2025, counsel for the Plaintiff emailed the three Directors of

the Federal Programs Branch of the Department of Justice (the “Directors”) to provide actual

notice that Plaintiff was filing a complaint and motion for temporary restraining order/preliminary

injunction in this action, and to request that Defendants agree not to take action inconsistent with

the requested relief. As of 1:00 p.m., counsel for the Plaintiff has received no response. Counsel

for Plaintiff has provided the Directors with electronic copies of the complaint, motion for

temporary restraining order/preliminary injunction, and accompanying brief, declaration, and

proposed order via e-mail before completing this electronic filing.



Dated: March 17, 2025                                Respectfully submitted,

                                                      /s/ Aaron S.J. Zelinsky                  .
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